                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                 1:06 CR 165-04


UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )              ORDER
                                                    )
PHILLIP EUGENE FORREST,                             )
                                                    )
                  Defendant.                        )
________________________________________            )


        THIS CAUSE coming on to be heard and being heard before the undersigned upon

a violation report filed in the above entitled cause on November 20, 2006 by the United

States Probation Office. In the violation report the United States Probation Office alleged

that the defendant had violated terms and conditions of his pretrial release. At the call of this

matter on for hearing it appeared that the defendant was present with his counsel, attorney

Charles Brewer, and that the Government was present through Assistant United States

Attorney, Tom Ascik, and from the evidence offered and from the statements of the Assistant

United States Attorney and the attorney for the defendant, and the records in this cause, the

court makes the following findings.

        Findings:    At the call of the matter, the defendant, by and through his attorney,

admitted the allegations contained in the violation report that had been filed on November

20, 2006. The Government introduced, without objection, the violation report into evidence.

        The defendant was charged, in a bill of indictment filed on August 7, 2006 with one

count of conspiracy to distribute a quantity of methamphetamine. A hearing was held in



      Case 1:06-cr-00165-MR-WCM            Document 269          Filed 11/30/06       Page 1 of 5
regard to the detention of the defendant on August 18, 2006. On that date, the undersigned

entered an order releasing the defendant on a $25,000.00 unsecured bond. The undersigned

further set conditions of release which included the following:

       (1)    That the defendant shall not commit any offense in violation of federal, state

              or local law while on release in this case.

       (7)(m) Refrain from use or unlawful possession of a narcotic drug or other controlled

              substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical

              practitioner.

       (7)(q) That the defendant participate in a home confinement program component

              which included home detention with electronic monitoring.

       On October 31, 2006 the defendant submitted to an urinalysis with a positive result

for the use of amphetamine and methamphetamine. On November 4, 2006 the defendant was

out of range from his electronic monitoring from 5:52 p.m. until 6:40 p.m. and on November

5, 2006 the defendant was out of range from 1:13 p.m. until 2:58 p.m.

       Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer shall

enter an order of revocation and detention if, after a hearing, the judicial officer -----

       (1)     finds that there is----
               (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
               (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2)     finds that ---
               (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that the person

                                               2


    Case 1:06-cr-00165-MR-WCM             Document 269        Filed 11/30/06     Page 2 of 5
       will not flee or pose a danger to the safety of any other person or the community; or
              (B) the person is unlikely to abide by any condition or combination
       of conditions of release.

       If there is probable cause to believe that, while on release, the person committed a
       Federal, State, or local felony, a rebuttable presumption arises that no condition
       or combination of conditions will assure that the person will not pose a danger to
       the safety of any other person or the community.”


       Based upon the evidence, the undersigned finds that there is also probable cause to

believe that the defendant committed a federal and state crime while on release. The

consumption of methamphetamine is a misdemeanor under federal law. 21 U.S.C. § 844

The consumption of methamphetamine is a felony under state law. N.C.G.S. § 90-95(a)(3)

Due to the fact that there is probable cause to believe that the defendant committed a state

felony, a rebuttable presumption arises, pursuant to 18 U.S.C. § 3148, that no condition or

combination of conditions would assure that the defendant would not pose a danger to the

safety of any other person or the community.

       There has further been shown by clear and convincing evidence that the defendant

violated condition of release (7)(m) in that the defendant was ordered to refrain from use or

unlawful possession of a narcotic drug unless it was prescribed by a licensed medical

practitioner. The defendant clearly violated this condition by using amphetamine and

methamphetamine which is a drug which is not prescribed by licensed medical practitioners.

       There has further been shown by clear and convincing evidence that the defendant

violated condition (7)(q) in that he violated his home detention which included electronic



                                             3


   Case 1:06-cr-00165-MR-WCM             Document 269        Filed 11/30/06      Page 3 of 5
monitoring by being out of range of the monitoring equipment as set forth above.

       Due to the findings made above and further considering the presumption that has been

created and also considering the factors as set forth under 18 U.S.C. § 3142(g), it appears

there is no condition or combination of conditions of release that will assure that the

defendant will not pose a danger to the safety of any other person or the community. It is the

opinion of the undersigned that based upon the defendant’s actions, that it is unlikely that

the defendant will abide by any condition or combination of conditions of release. As a

result of the above referenced findings, the undersigned has determined to enter an order of

revocation revoking the unsecured bond and the terms of pretrial release previously issued

in this matter and entering an order detaining the defendant. The defendant has requested

that he be allowed to participate, during his period of detention, in the Jail Based Inpatient

Treatment Program. The Government has advised that it does not object to the participation

of the defendant in the Jailed Based Inpatient Treatment Program.

                                          ORDER

       WHEREFORE, IT IS ORDERED that the unsecured bond and terms and conditions

of pretrial release entered in this matter are hereby REVOKED and it is ORDERED that

the defendant be detained pending sentencing and further proceedings in this matter. It is

further ORDERED that the defendant be allowed to participate in the Jail Based Inpatient

Treatment Program during his period of detention.




                                              4


    Case 1:06-cr-00165-MR-WCM            Document 269        Filed 11/30/06     Page 4 of 5
                                Signed: November 30, 2006




                                5
Case 1:06-cr-00165-MR-WCM   Document 269   Filed 11/30/06   Page 5 of 5
